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                             Exhibit 1
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                                     SETTLEMENT AGREEMENT

              Plaintiff Julie Farley on behalf of herself and the "Settlement Class" as this
       term is defined in paragraph II.A. and defendants Family Dollar Stores, Inc. and
       Family Dollar Stores of Colorado, Inc. (together "Family Dollar"), through their
       respective counsel, hereby enter into this settlement agreement ("Agreement") to
       resolve all claims asserted by plaintiff individually and on behalf of all Settlement
       Class members against Family Dollar in the action referred to below in paragraph
       I.A.

       I.       RECITALS

              A.     On February 7, 2012, plaintifffiled Farley v. Family Dollar Stores,
       Inc. and Family Dollar Stores ofColorado, Inc., No. 12-CV-00325-RM-MJW,
       alleging that Family Dollar has misclassified current and former Colorado store
       managers as exempt from state law overtime requirements under the Colorado
       Minimum Wage Order's (the "Wage Order") "executive/supervisor" exemption.
       See 7 CCR 1103-1 :5(b) (2014).

             B.     On March 21, 2013, pursuant to Federal Rule of Civil Procedure 23,
       the Court certified a class of all persons who worked as salaried store managers in
       Family Dollar stores in Colorado at any time since February 7, 2009 and appointed
       Winebrake and Santillo, LLC and Brian D. Gonzales, PLLC as Class Counsel.

       II.      DEFINITION OF SETTLEMENT CLASS

                 A.     The "Settlement Class" includes all persons who worked in Family
           Dollar's Colorado stores as salaried store managers at any time from February 7,
           2009 through the date that the Court enters an order preliminarily approving this
           Agreement. 1

                  B.   PlaintiffFarley is the sole class representative for purposes of this
           settlement.

                  C.    Nothing herein will be considered an admission or acknowledgment
           by the parties that any class is either proper or improper in this action, except for
           purposes of settlement. Neither the Agreement nor approval by the Court of the

       1
        The Settlement Class does not include two individuals (Dalen Savage and Max J.
       Duran) who previously excluded themselves from the class.
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         Agreement will be admissible in any other proceeding regarding the propriety of
         class action treatment.

                D.    If this Agreement is not finally approved or fails to be enforceable,
         the parties will not be deemed to have waived their claims, positions, or defenses,
         including their positions on whether this action is appropriate for class treatment.

        III.   COMPROMISE ACKNOWLEDGMENT

                A.    The parties and their respective counsel agree that this Agreement is
        entered into solely on the basis of a compromise of disputed claims and that the
        Agreement is not, and is not to be construed as, an admission by Family Dollar of
        any liability or violation of any federal, state, local, or common law, or of any
        statute, ordinance, regulations, or order. Nor is the Agreement to be construed as
        an admission by plaintiff and his counsel that any of the defenses asserted in this
        litigation by Family Dollar are meritorious.

               B.      The parties have conducted extensive discovery and investigation
        of the claims and defenses during this litigation, including taking depositions of
        plaintiff, certain other Settlement Class members, and company representatives,
        the exchanging extensive written discovery, analyzing timekeeping and payroll
        data, and interviewing numerous current and former Family Dollar employees.
        The parties have analyzed the facts and relevant law, fully briefed a summary
        judgment motion against plaintiff, fully briefed the class certification issue, and
        briefed a petition for permission to appeal the class ruling under Rule 23(f).

               C.     Plaintiff believes that the claims asserted have merit. However, she
        recognizes the significant cost to prosecute the litigation against Family Dollar
        through trial and possible appeals and the uncertain outcome and risk of loss in
        any litigation, especially in a complex action such as this, and the problems and
        delays inherent in such complex litigation. In addition, plaintiff recognizes the
        potential problems of proof and possible defenses to the asserted claims.

               D.     Relying on their fact investigations, analyses, and the Court's prior
        rulings, the parties engaged in arm's length settlement negotiations, which were
        conducted with the assistance of Mark Rudy, an experienced complex wage and
        hour litigation mediator.



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              E.     Plaintiff believes that this Agreement confers substantial benefits
        on class members and that it is fair, reasonable, adequate, and in the best interest
        of herself and the Settlement Class.

               F.    Class Counsel have independently determined that the terms of this
        Agreement are fair, reasonable, adequate, and in the best interests oftne defined
        Settlement Class, and that settlement and dismissal of this action with prejudice
        are proper under the circumstances of this action.

               G.    Family Dollar believes the claims asserted by plaintiff on behalf of
        herself and the Settlement Class are without merit and denies all the claims and
        charges alleged by plaintiff including any alleged violations arising from any of
        the acts, omissions, facts, transactions, or occurrences alleged or that could have
        been alleged in this action.

               H.    Family Dollar denies this action is proper for class treatment, except
        for settlement purposes, because of intractable management problems that would
        have been associated with a class trial and the individualized inquiry required to
        resolve the claim of each Settlement Class member.

               I.      Family Dollar has contested the asserted claims, but has determined
        that further defense of this action would be protracted, expensive, and contrary to
        its best interests and that it is desirable that the action be completely and finally
        settled upon the terms and conditions set forth herein. In addition, Family Dollar
        has taken into account the uncertainty and risks inherent in litigation, particularly
        in a complex action like this.

               J.     Nothing in the Agreement or any action taken to implement it or any
        statements, discussions, communications, or materials prepared or used during the
        course of settlement negotiations will be used or considered evidence in any other
        proceeding involving an alleged violation of any federal, state, local law, duty, or
        obligation. Nonetheless, this Agreement may be used in a proceeding involving
        the interpretation or enforcement of the Agreement.

        IV.   TERMS OF THE SETTLEMENT AGREEMENT

                A.    Effective Date: The "Effective Date" is defined herein as the date
        after the Court enters an order granting final approval of the settlement and (1)
        the time for filing an appeal from the final approval order has expired without
        the filing of a notice of appeal or (2) if a timely appeal has been filed, the final
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        resolution of that appeal (including any requests for rehearing or a petition for
        certiorari) is achieved, resulting in the final judicial approval of the Agreement
        or withdrawal of such appeal.

              B.     Appointment Of Settlement Administrator

                      1.     The parties will retain Class Action Administrators, Inc. as the
        settlement administrator to: (a) provide notice ofthe settlement to the Settlement
        Class; (b) administer any opt-out requests and objections to the settlement; (c) set
        up and administer a qualified settlement fund to disburse all settlement payments;
        (d) calculate settlement amounts for each Settlement Class member; (e) calculate
        and make all payroll tax and other withholdings; (f) distribute settlement checks;
        (g) address any questions from members ofthe Settlement Class; (h) prepare and
        mail all necessary W-2 and 1099 IRS forms; and (i) perform any other duties that
        are necessary to effectuate the Agreement.

                     2.    The parties will cooperate to resolve any issues identified by
        the settlement administrator. Each party will designate a counsel to serve as the
        primary contact for the settlement administrator.

              C.     Preliminary Approval And Notice To Class Members

                     1.     The parties agree to file a joint motion requesting preliminary
        approval of the settlement and proposed order granting such approval by July 1,
        2014.

                       2.    Within 10 business days after entry of an order preliminarily
        approving the settlement, Family Dollar will send the settlement administrator the
        final list of Settlement Class members agreed to by the parties. The final list will
        include for each member of the Settlement Class their name, last known address,
        and social security number. Class Counsel may provide address information to
        the settlement administrator; however, providing such information will not affect
        the deadlines provided in this Agreement.

                      3.    The settlement administrator will mail via first class U.S. mail
        a notice of preliminary approval to each member ofthe Settlement Class within
        25 business days after the date an order preliminarily approving the settlement is
        entered. Such proposed notice is attached to the Agreement as Exhibit A.


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                     4.     The settlement administrator alone is responsible for mailing
        the notices of preliminary approval to Settlement Class members.

                      5.     The notice of preliminary approval will explain that members
        of the Settlement Class may opt-out of the settlement in accordance with Federal
        Rules of Civil Procedure 23(c)(2)(B) and 23(e)(4). Opt out requests must be sent
        to the settlement administrator within 45 days of the initial mailing of the notice.
        The settlement administrator will provide copies of opt-out requests to all counsel,
        and Class Counsel will promptly file any opt-out requests with the Court. Neither
        the parties nor their counsel will make any effort to solicit or otherwise persuade
        Settlement Class members to participate in, opt out of, or object to the settlement.
        But nothing herein prevents Class Counsel from discussing with Settlement Class
        members who may initiate contact with Class Counsel whether to participate in or
        opt-out of the settlement. Nor will anything in this paragraph prevent discussions
        between plaintiff and Class Counsel.

                      6.    The notice of preliminary approval will inform the Settlement
        Class members that all objections to the settlement must be submitted to the Court
        and served upon all counsel of record no later than 45 days after the initial mailing
        of notice of preliminary approval. Such objections must state the basis and, if the
        objector intends to appear at the final approval hearing, he or she must state such
        fact and the purpose of the appearance. The parties will be permitted to respond
        to objections within the period set by the Court in its order granting preliminary
        approval. Settlement Class members who fail to file and serve timely objections
        will be deemed to have waived objections to the settlement and will be foreclosed
        from making objections. By failing to make timely objections to the settlement,
        Settlement Class members will also be foreclosed from appealing any aspect of
        the settlement after the Court's final approval.

                     7.    During the 45-day opt-out period, the settlement administrator
       will report weekly to the parties the number of (i) notices of preliminary approval
       returned as undeliverable and (ii) Settlement Class members who have opted out of
       the settlement. The settlement administrator will use existing databases in an effort
       to find Settlement Class members whose notices were not delivered and will make
       all reasonable efforts to update addresses andre-mail undelivered notices.

                     8.     If a combined total of 15 or more Settlement Class members
        properly opt-out of the settlement or submit timely objections, Family Dollar will
        have the right to withdraw from the Agreement in its entirety and the Agreement

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        will be null and void for all purposes. The right to withdraw can be exercised
        only by a writing stating that Family Dollar is withdrawing from the Agreement,
        which is sent to opposing counsel by e-mail and regular U.S. mail, no later than
        20 days after the expiration ofthe opt-out period.

                     9.    Pursuant to 28 U.S.C. §1715(b), within 10 days after the joint
        motion for preliminary approval is filed, Family Dollar will serve a notice of the
        proposed settlement on the appropriate federal and state officials.

               D.    Waiver And Release

                       1.     Plaintiff, on behalf of herself, the Settlement Class (except any
        Settlement Class member who opts out of the settlement under paragraph IV.C.6.),
        and their respective heirs, descendants, dependents, executors, successors, assigns,
        and administrators, fully release and discharge Family Dollar and its previous and
        present parents, subsidiaries, affiliates, predecessors, successors, representatives,
        officers, directors, agents, attorneys, accountants, assigns, and employees, in their
        personal, individual, official, and/or corporate capacities, from any and all claims
        and rights of any kind that they may have, whether known or unknown, whether
        contingent or non-contingent, whether specifically asserted or not, arising before
        the date of the order preliminarily approving the settlement that are based upon
        the alleged misclassification of current and former Colorado Family Dollar store
        managers under Colorado law, the Employee Retirement Income Security Act, the
        Fair Labor Standards Act, and any other local, state, and federal laws, including
        all wage and hour, common, tort, and contract laws, that were or could have been
        asserted based upon the alleged facts in the complaint, including, but not limited
        to, claims for attorney's fees, penalties, interest, liquidated damages, and litigation
        costs (collectively "Released Claims"). Released Claims will not include claims
        for retaliation, discrimination, disability, or wage and hour claims unrelated to the
        alleged misclassification of Colorado store managers.

                     2.     Nothing in this Agreement will be considered a waiver of any
        claims by Settlement Class members that may arise after the date the Agreement
        is preliminarily approved by the Court.

                     3.    The parties acknowledge that the above waiver and release was
        separately bargained for and is a material element of the Agreement.

                    4.     By endorsing the settlement check, Settlement Class members
        will be deemed to have released their Released Claims. When finally approved by
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        the Court, execution of the Agreement by Class Counsel will effectuate the release
        provisions herein to which each Settlement Class member is bound, even if each
        such person does not endorse or negotiate a settlement check.

              E.     SettlementAmounts

                     1.    Gross Settlement Amount: In full consideration for the terms,
        conditions, and promises in this Agreement, Family Dollar agrees to pay a Gross
        Settlement Amount not to exceed $2,300,000. This sum includes all amounts to
        be paid by Family Dollar under this Agreement including settlement payments to
        members ofthe Settlement Class, attorney's fees, litigation expenses, interest, the
        employer portion of all payroll taxes, penalties, the enhancement for the plaintiff,
        and settlement administrator payments and costs. The Gross Settlement Amount
        is the maximum amount Family Dollar is obligated to pay under the Agreement;
        in no event will Family Dollar be required to pay more than the Gross Settlement
        Amount. This is a non-reversionary settlement; there will be no claims process.

                             2.    Attorney's Fees and Litigation Expenses: Family Dollar
        agrees not to oppose a request by Class Counsel for reasonable attorney's fees and
        litigation expenses in an amount not to exceed $759,000. Class Counsel will not
        request fees and expenses in excess of this amount. Class Counsel must file their
        request for fees and expenses on the same day as the parties' joint motion for final
        approval of the settlement. These amounts will be paid from the Gross Settlement
        Amount within 15 days after the Effective Date. The settlement is not contingent
        on approval ofthe above amounts. Accordingly, even ifthe Court approves lesser
        amounts, this Agreement will remain enforceable. Class Counsel will share their
        request for fees and expenses with counsel for Family Dollar before such request
        is filed and will consider any proposed changes by Family Dollar.

                     3.    Cost of Settlement Administration: An amount not to exceed
        $24,500 will be paid to the settlement administrator for all services and mailings.
        This amount will be paid from the Gross Settlement Amount. Class Counsel will
        pay for any additional settlement administration expenses.

                       4.    Class Representative Enhancement: In recognition ofher
        leadership role on behalf of the Settlement Class and time and effort in pursuing
        this action, the plaintiffwill be entitled to an enhancement to be determined by
        Class Counsel and subject to the Court's final approval. This payment will not
        exceed $15,000. The enhancement payment will be paid to plaintiffwithin 15

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         days after the Effective Date, treated as non-wage income, and included on IRS
         form 1099 to be issued to plaintiff.

                      5.     Employer Payroll Taxes: The employer share of FICA, FUTA,
         SUTA, Medicare and any other applicable payroll taxes for the payment amounts
         allocated to Settlement Class members in accordance with paragraph IV.E.7 will
         be paid from the Gross Settlement Amount.

                      6.     Unapproved Amounts: To the extent that the Court approves
         lesser amounts than provided in this Agreement for attorney's fees and litigation
         costs and the Class Representative enhancement, the unapproved amounts will be
         allocated to Settlement Class members on the same pro rata basis as described in
         paragraph IV.E.7.a. and subtracted from the Gross Settlement Amount as set forth
         below in paragraph IV.E.8.b.

                     7.     Payment Amounts To The Settlement Class Members

                           a.    The Gross Settlement Amount, less all amounts required
        to be paid under paragraphs IV.E.2.-.E.5., will be allocated among the Settlement
        Class members on a pro rata basis based on the total number of Qualifying Work
        Weeks for each Settlement Class member during the time period covered by this
        Agreement. A "Qualifying Work Week" is a work week in which any Settlement
        Class member worked as a Family Dollar salaried store manager in Colorado for
        more than 40 recorded hours.

                            b.    Family Dollar payroll records will be used to determine
        the number of work weeks and hours worked. After preliminary approval by the
        Court, Family Dollar will provide Class Counsel and the settlement administrator
        with a complete list of Settlement Class members and the number of Qualifying
        Work Weeks for each individual. The settlement administrator will calculate the
        amounts to be allocated to each member of the Settlement Class as described in
        paragraph IV.E.7.a. The parties will confer in good faith to resolve any disputes
        regarding Qualifying Work Weeks.

                           c.    Settlement Class members will be ineligible to receive a
        payment if they opt-out of the settlement as set forth in paragraph IV.C.5.

                          d.     Settlement payments made to individual Settlement
        Class members will be allocated as follows: 50 percent to wages and 50 percent
        to interest.
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                            e.      The appropriate withholding of federal, state, and local
        income taxes, each Settlement Class Member's share ofFICA, FUTA, SUTA,
        Medicare, and any other payroll taxes or withholdings, if required, will be made
        from the settlement payments to each Settlement Class Member. The settlement
        administrator will be solely responsible for tax withholding determinations and
        settlement payments. The settlement administrator will also issue IRS form W-2
        to each Settlement Class Member at the times and in the manner required by the
        Internal Revenue Code of 1986 and consistent with this Agreement for the portion
        of each settlement payment attributable to wages and issue IRS form 1099 for the
        portion attributable to interest. If the Internal Revenue Code, regulations issued
        thereunder, or other relevant tax laws change after the Effective Date, the content
        of this paragraph may be modified to ensure compliance with any such changes.
        The settlement administrator will be solely responsible for other withholdings, in
        addition to those referred to above.

                           f.     Each Settlement Class Member will be responsible for
        the payment of taxes (federal, state, and local) owed as a result of receiving any
        consideration under this Agreement.

                     8.     Final SettlementAmount

                            a.    Within 10 days after the Effective Date, Family Dollar
        will send the settlement administrator the Gross Settlement Amount.

                          b.     The Gross Settlement Amount will be used to make all
        required payments under this Agreement, including the employer share of payroll
        taxes. Family Dollar will not be required to pay more than the Gross Settlement
        Amount under any circumstances.

                             c.    The parties will treat the Gross Settlement Amount as a
        "qualified settlement fund" within the meaning ofTreas. Reg. section 1.468B-l.
        In addition, the parties will jointly and timely make the "relation back election" to
        the earliest permitted date, as provided for in Treas. Reg. section 1.468B-IU)(2).
        Such election will be made in compliance with the procedures and requirements
        contained in such regulations. The settlement administrator will be responsible
        for properly preparing and delivering the necessary documents for signature by all
        necessary parties and to make the appropriate filing.


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                              d.      For purposes of Internal Revenue Code of 1986 section
       468B and Treas. Reg. section 1.468B-2(k)(3 ), Class Action Administrators, Inc.
       will be the qualified settlement administrator and will timely and properly file all
       information and tax returns necessary or available with respect to the settlement
       amounts including without limitation the returns described in Treas. Reg. sections
       1.468B-2(k)( 1) and 1.468B-(2)(1). These tax returns will be consistent with this
       Agreement and will reflect that all taxes including any estimated taxes, interest, or
       penalties arising from the income earned by the Gross Settlement Amount will be
       paid out of the Gross Settlement Amount. All taxes, expenses, and costs incurred
       relating to the operation and implementation ofthis paragraph, including, without
       limitation, any expenses of tax counsel or accountants, mailing costs and expenses
       relating to the filing or failing to file any returns (hereinafter "tax expenses") will
       be paid out ofthe Gross Settlement Amount and income earned on this amount.
       Tax expenses will be treated as, and considered to be, a cost of administrating the
       individual settlement amounts and the qualified settlement administrator will be
       obligated to withhold from individual settlement amounts any funds necessary to
       pay such taxes and tax expenses and any taxes that may be required to be withheld
       pursuant to Treas. Reg. section 1.468B-2(1)(2).

                            e.     During any period the Gross Settlement Amount is not a
        qualified settlement fund for tax purposes, the qualified settlement administrator
        will pay to Family Dollar in a timely fashion from the Gross Settlement Amount
        sufficient funds to enable it to pay taxes, including any estimated taxes, interest,
        or penalties on income earned by the Gross Settlement Amount other than interest
        or penalties incurred by Family Dollar as a result of any action or inaction on the
        part of Family Dollar that resulted in the Gross Settlement Amount being treated
        as other than a qualified settlement fund. The parties agree to cooperate with the
        qualified settlement administrator, each other, their tax attorneys and accountants
        to the extent necessary to carry out the provisions of paragraphs IV.E.8.c.-.8.e.

              F.     Final Approval

                    1.     Following the end of the opt-out period, the parties will file a
       joint motion for final approval of the settlement. To ensure compliance with 28
       U.S.C. § 1715(d), this motion will be filed no earlier than 55 days after the end of
       the opt-out period. The parties will take all actions to secure final approval of the
       Agreement.



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                      2. If this Agreement is not finally approved or is disapproved on
        appeal, it will be null and void in its entirety, unless expressly agreed to in writing
        by the parties.

               G.    Delivery Of Settlement Checks

                       1.     The settlement administrator will provide the parties a final list
        of Settlement Class members who will receive payments within 20 days after the
        end of the opt-out period The list will include for each member of the Settlement
        Class their (i) full name, (ii) best address, (iii) social security number, and (iv) pro
        rata share of the Gross Settlement Amount as determined based on the formula in
        paragraph IV.E.7.a. above and subject to a potential enhancement under paragraph
        IV.E.6 above. This information will remain confidential and be disclosed only to
        the settlement administrator and counsel for the parties, except as may be required
        by taxing authorities or the Court.

                    2.     The settlement administrator will mail all settlement checks
       within 30 days after the Effective Date. For any Settlement Class member whose
       settlement check is returned as undelivered, the settlement administrator will take
       reasonable steps to locate the individual and re-mail the check.

                    3.     The amount of settlement checks that cannot be delivered or
       are not presented for payment after 180 days of mailing will be transmitted by the
       settlement administrator to cy pres charitable organizations designated by Family
       Dollar and plaintiff. The amount transmitted will be divided equally between the
       organizations designated by Family Dollar and plaintiff.

                   4.    The settlement administrator will issue an IRS form 1099 for
       each Settlement Class member showing the amount of interest paid and IRS form
       W-2 showing the amount of back pay in the year it was paid.

              H.     Dismissal Of Action With Preiudice

            Plaintiff and Settlement Class members accept the benefits provided herein
       as consideration for their full release and satisfaction of all claims asserted in this
       action or covered in this Agreement. Based upon the provisions herein, plaintiff
       and Settlement Class will dismiss this action with prejudice within three business
       days after the Effective Date.

              I.     Documents
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                      1.     To preserve all private and confidential information related to
        Family Dollar and Settlement Class members, Class Counsel will, within 90 days
        after the Effective Date, destroy or return all the documents exchanged during the
        course of the litigation that were subject to the protective order and/or designated
        as "Confidential" in this action. If Class Counsel elect to destroy the documents,
        they will certifY under penalty of perjury that the documents have been destroyed.

                     2.     Class Counsel will confirm in writing that the obligations set
        forth in paragraph IV.I.l. have been completed.

              J.     Parties' Authority

                     1.   The signatories represent that they are fully authorized to enter
        into this Agreement and to bind the parties hereto to the terms and conditions of
        the Agreement.

                      2.   The parties acknowledge that throughout negotiations they
        have been represented by counsel experienced in wage and hour class litigation
        and that this Agreement is made with the consent and approval of counsel who
        have prepared the Agreement.

              K.     Mutual Full Cooperation

            The parties agree to cooperate to implement and effectuate the terms of this
       Agreement including executing all necessary documents.

              L.     Enforcement Actions

              If any party institutes any legal action or other proceeding for the purpose
       of enforcing this Agreement against any other party, the unsuccessful party will
       pay the successful party reasonable attorney's fees and costs incurred in enforcing
       the Agreement.

              M.    Limitations On Publicity

                    I.      The parties and their counsel agree that they will not publicize
       this settlement or the events and negotiations surrounding this Agreement in any
       way prior to final approval of the Agreement except by joint pleadings filed with
       the Court. After final approval of the Agreement, the parties and their counsel
       will acknowledge only that the action was resolved on a satisfactory basis. But
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        the only commentary allowed is set forth in this paragraph except that the parties
        may communicate regarding the terms oftheAgreement with their attorneys, tax
        advisors, and immediate family members. But nothing in this paragraph prevents
        Family Dollar from making necessary public disclosures regarding the settlement
        and discussing the settlement with securities analysts and financial institutions.

                     2.     If any party believes a statement violates paragraph IV.M.1,
        the parties will meet and confer informally in an effort to resolve the dispute. If
        unable to do so, the dispute will be submitted to the Court for resolution. If the
        Court decides that a violation has occurred, the decision will be binding and the
        offending party must immediately refrain from making the statement in question.
        The prevailing party will be entitled to an award of reasonable attorney's fees and
        costs.

              N.     Modification

             This Agreement and its exhibits may not be changed, altered, or modified,
       except in writing signed by the parties, and approved by the Court.

              0.     Entire Agreement

              This Agreement and its exhibits constitute the entire agreement between the
        parties concerning the subject matter hereof. No extrinsic evidence of any kind
        will modify or contradict the terms of this Agreement.

              P.     Voiding The Agreement

                      1.    Family Dollar may void the agreement under the conditions
        specified in paragraph IV.C.8.

                      2.  In the event this Agreement is not approved by the Court, the
        Agreement will be null and void in its entirety, unless expressly agreed in writing
        by all parties.

                     3.    Notwithstanding the above paragraph, ifthe Court rejects any
        portion of paragraphs IV.M.l. and IV.M.2., the parties agree that such portions
        will be removed from the Agreement or modified in a manner consistent with the
        ruling. The enforceability of the remainder of the Agreement will not be affected
        by such removal or modification.


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                   4.     Ifjudicial approval oftheAgreementis otherwise denied, the
      parties will attempt to reach agreement on provisions rejected by the Court for a
      period not less than 45 days after the date approval is denied. The parties will file
      a joint motion for a stay of the action during the 45-dayperiod.

            Q.     Counterparts

            This Agreement may be executed in counterparts, and when each party has
     executed at least one counterpart, the counterpart will be deemed an original, and
     when considered together, will constitute one Agreement, which will be binding
     and effective as to all parties.

            R.     Miscellaneous
                   1. The parties agree to the stay of all proceedings in this action,
      except as rnay be necessary to implement the terms of the Agreement, pending
      final approval of the Agreement
                   2.     The District Court for the District of Colorado will maintain
     jurisdiction in this action to interpret and enforce this Agreement, which will be
     interpreted nnderthe laws of the state ofColorado.
                   3.     No party or Settlement Class member will be considered a
      prevailing party for any purpose.

            In witness hereof, the parties' authorized representatives have executed
      this Agreement below.

     Dated: June 30,2014




     Dated: June 30,2014
                                             Peter Wi:nebrak:e
                                             Wmebrake & Santillo, LLC
                                             for plaintiff and the Settlement Class



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          Dated: June 30, 2014




                                                  for plaintiff and the Settlement Class


          Dated: June 30,2014
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                                                  Akin Gump Strauss Hauer & Fe1d LLP
                                                  Counsel for Family Dollar Stores, Inc. and
                                                  Family Dollar Stores of Colorado, Inc.
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          Dated:          ·    , 2014
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                                        (          Counsel for Famf y Dollar Stores, Inc. and
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                           Exhibit A
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                 NOTICE OF PROPOSED SETTLEMENT AND RIGHT TO OPT-OUT

                 Julie Farley v. Family Dollar Stores, Inc., et al., 12-CV-00325-RM-MJW

    A FEDERAL COURT AUTHORIZED THIS NOTICE. THIS IS NOT A SOLICITATION
                            FROM A LAWYER.

   TO: [INSERT CLASS MEMBER’S NAME]

      •   PLEASE READ THIS NOTICE CAREFULLY. IT TELLS YOU ABOUT THE
          SETTLEMENT OF A CLASS ACTION LAWSUIT THAT INCLUDES YOU.

      •   YOU ARE ELIGIBLE TO RECEIVE A PRE-TAX PAYMENT FROM THE
          SETTLEMENT OF THIS LAWSUIT.

      •   IF YOU WISH TO OBJECT TO OR EXCLUDE YOURSELF FROM THE
          SETTLEMENT, YOU MUST FOLLOW THE DIRECTIONS IN THIS NOTICE.

      •   IF YOU RECEIVED THIS NOTICE ON BEHALF OF A CLASS MEMBER WHO
          IS DECEASED, YOU SHOULD PROVIDE THE NOTICE TO THE
          AUTHORIZED LEGAL REPRESENTATIVE OF THAT CLASS MEMBER.

   A proposed settlement has been reached between the parties in this class action pending in the
   United States District Court for the District of Colorado brought on behalf of all individuals who
   were employed as salaried Family Dollar store managers in Colorado and worked over 40 hours
   during at least one workweek between February 7, 2009 and [insert preliminary approval date]
   (the “Settlement Class”). The federal court has preliminarily approved the settlement.

   You are receiving this Notice because you are a member of the Settlement Class. This Notice
   informs you of how you can object to the settlement or exclude yourself from the settlement. If
   the settlement is finally approved by the Court, you will receive a settlement payment and will be
   bound by the settlement unless you exclude yourself from the settlement by following the
   instructions in this Notice.

   If the Court finally approves the settlement and you do not exclude yourself from the settlement,
   you will receive a gross, pre-tax payment of approximately $[insert amount].

   The Court will decide whether to finally approve the settlement during a hearing (“the Fairness
   Hearing”) to be conducted at [insert time] on [insert date] 2014, in Courtroom [insert] of the
   Alfred A. Arraj United States Courthouse, 901 19th Street, Denver, Colorado 80294-3589.




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   What Is The Class Action About?

   This action involves a class of approximately 450 current and former Colorado Family Dollar
   store managers who were paid a salary, worked more than 40 hours in a week, and did not
   receive overtime compensation. The action seeks unpaid overtime payments on behalf of these
   individuals. Family Dollar denies any wrongdoing or liability. The settlement is an effort by
   both parties to avoid costly litigation. The Court has not decided who is right.

   What Are My Rights?

   You have the following choices:

     DO NOTHING AND             By doing nothing, you will remain in the Settlement Class and you will
     STAY IN THE                receive a settlement payment. You will be legally bound by all orders and
     SETTLEMENT                 judgments entered by the Court, and will not be able to sue, or continue to
     CLASS                      sue, Family Dollar in any lawsuit relating to the alleged misclassification of
                                Colorado store managers as overtime-exempt during the time period covered
                                by the settlement.


     EXCLUDE                    You may exclude yourself from of the Settlement Class. If you exclude
     YOURSELF FROM              yourself, you will receive no benefits or payment, you will not give up any
     THE SETTLEMENT             legal claims you may have against Family Dollar, and you will not be bound
     CLASS                      by any orders or judgments of the Court. To exclude yourself from the
                                settlement, you must send a letter stating that you want to exclude yourself
     Postmark Deadline:         from the Settlement Class. This letter must include your name, address,
     [45 days after             telephone number, and the last four digits of your social security number.
     Notice mailed]             The letter must be mailed to the following address: to Family Dollar CO
                                Store Manager Settlement, c/o Class Action Administration, Inc., 10875
                                Dover Street, Suite 300, Westminster, CO 80021. To be valid, the letter must
                                be postmarked by [insert date].

     OBJECT TO THE                You may object to the settlement. If you object and the Court finally
     SETTLEMENT                   approves the settlement, you will remain in the Settlement Class, receive a
                                  settlement payment, be legally bound by all orders and judgments entered by
     Postmark Deadline: [45       the Court, and will not be able to sue, or continue to sue, Family Dollar in
     days after                   any lawsuit relating to the alleged misclassification of Colorado store
     Notice mailed]               managers as overtime-exempt during the time period covered by the
                                  settlement. To object to the settlement, you must send a letter describing the
                                  reasons for your objection. This letter must include your name, address,
                                  telephone number, and the last four digits of your social security number.
                                  The letter must be mailed to the following address: to Family Dollar CO
                                  Store Manager Settlement, c/o Class Action Administration, Inc., 10875
                                  Dover Street, Suite 300, Westminster, CO 80021. To be valid, the letter
                                  must be postmarked by [insert date]. Finally, if you object to the settlement,
                                  you are entitled to appear at that Fairness Hearing and will be provided with
                                  an opportunity to further explain the basis for your objection to the Court.

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   Do I Have A Lawyer In The Lawsuit?

   The Court has appointed the following attorneys (“Class Counsel”) to represent you and other
   members of the Settlement Class:

            Peter Winebrake, Esq.                       Brian D. Gonzales, Esq.
            Winebrake & Santillo, LLC                   The Law Offices of Brian D. Gonzales, PLLC
            715 Twining Road, Suite 211                 123 North College Avenue, Suite 200
            Dresher, PA 19025                           Fort Collins, CO 80524
            Phone: (215) 884-2491                       Phone: (970) 212-4665
            Email: pwinebrake@winebrakelaw.com          Email: bgonzales@coloradotriallaw.com

   You will not be required to pay the above attorneys from your settlement payment. These
   attorneys, who have been working on this lawsuit for almost three years, will submit a motion
   requesting that the Court award them $759,000 (which equals 33% of the Gross Settlement
   Amount of $2,300,000) for their accumulated attorney’s fees and out-of-pocket expenses.

   If you want your own lawyer, you may hire one at your own expense. If you do so, your lawyer
   must file an appearance in the action.

   What Will I Receive From the Settlement?

   The Gross Settlement Amount is $2,300,000. This is the maximum amount that Family Dollar is
   obligated to pay under the settlement. This amount consists of (i) up to $759,000 for attorney’s
   fees and litigation costs, (iii) up to $15,000 for the named plaintiff, (iv) up to $24,500 for the
   Settlement Administrator, and (vi) $1,501,500 to compensate Settlement Class members who do
   not exclude themselves from the settlement. This $1,501,500 amount includes all payroll taxes
   and withholdings, including Family Dollar’s share of such taxes and withholdings.

   Your individual payment amount is based on the total number of workweeks you worked more
   than 40 hours as a salaried Colorado store manager during the time period between February 7,
   2009 and [insert date of preliminary approval order]. Such weeks are referred to as Qualifying
   Work Weeks, and your individual Qualifying Work Weeks total [insert]. Your individual
   settlement payment amount is calculated by taking your [insert] Qualifying Work Weeks and
   dividing this number by [insert], which is the total number of Qualifying Work Weeks for all
   members of the Settlement Class.

   What Do I Give Up As A Result Of The Settlement?

   In consideration for your eligibility to receive your settlement payment, you will be releasing
   Family Dollar Stores, Inc., Family Dollar Stores of Colorado, Inc., and their affiliates and
   subsidiaries from any liability for claims under the Colorado Minimum Wage Order and any
   other federal or state wage and hour-related claims relating to the alleged misclassification of
   Colorado store managers as overtime-exempt from February 7, 2009 to [insert preliminary
   approval date].


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   When Will The Court Decide Whether To Give Final Approval To The Settlement?

   The Court will hold the Fairness Hearing at [insert time] on [insert date] 2014, in Courtroom
   [insert] of the Alfred A. Arraj United States Courthouse, 901 19th Street, Denver, Colorado
   80294-3589. At this time, the Court will review the papers submitted by the parties and any
   objectors, and hear any properly noticed witnesses. The Court will decide either at or after the
   fairness hearing whether to grant final approval of the settlement, and will issue a written order
   of its decision.

   May I Attend The Fairness Hearing?

   Yes, any Settlement Class member may attend the hearing. If you object to the settlement, you
   may submit your objections, as detailed above, along with any supporting documents, and
   declare your intent to appear at the fairness hearing, either personally or through an attorney.

   What Happens If The Court Does Not Give Final Approval?

   If the Court denies the parties’ request for final approval of the Settlement Agreement, no
   payments will be made under the settlement and this action will revert to its status immediately
   prior to the execution of the Settlement Agreement.

   If The Settlement Is Approved, When Will I Receive My Settlement Check?

   If the Court grants final approval, the Settlement Agreement will become effective after
   expiration of the time for all appeals of the Court’s final approval order or, if an appeal is filed, a
   final determination that the settlement should be approved. If you are eligible for an individual
   settlement amount, it will be distributed to you within 30 days after the settlement becomes
   effective.

   How Will My Settlement Amount Be Distributed To Me?

   If you are eligible for a settlement payment, the settlement administrator will send you two
   checks. 50 percent of your settlement amount will be allocated to back pay and this portion will
   be subject to withholding of federal, state, and local income and payroll taxes, as well as any
   other required withholdings such as garnishments. You will receive an IRS Form W-2 for this
   payment from the settlement fund. The remaining 50 percent of your settlement amount will be
   for non-wages (interest) and will not be subject to any payroll or income tax withholding unless
   you are subject to backup withholding or other required withholdings. Only 50 percent of your
   settlement monies received as a result of this settlement will be taxed as wages. Taxes will not
   be withheld by Family Dollar from the remaining portion. You will receive an IRS Form 1099
   for this second amount. The employer’s share of taxes will also be paid from the Gross
   Settlement Amount.

   Who Is Responsible For Paying The Taxes On My Settlement Amount?




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   You are solely responsible for paying taxes based on your receipt of a settlement payment.
   Neither your attorneys nor Family Dollar’s attorneys can provide any advice about such tax
   payments. You should consult your tax advisor if you have questions about the tax
   consequences of your individual settlement payments.

   How Can I Get a Copy of the Settlement Agreement and the Court’s Preliminary Approval
   Order?

   This Notice is a summary of your legal rights. These documents and all other pleadings and
   records in this lawsuit may be examined at any time during regular business hours in the Clerk’s
   Office of the Alfred A. Arraj United States Courthouse, 901 19th Street, Denver, Colorado
   80294-3589.

   What If I Have Questions About This Notice Or My Individual Settlement Amount?

   The settlement is being administered by Class Action Administrators, Inc., which is located at
   10875 Dover Street, Suite 300, Westminster, CO 80021. If you have questions concerning the
   settlement, you may call the Administrator at: (720) 540-4422.

   In addition, you should not hesitate to call one of the attorneys serving as Class Counsel if you
   wish to discuss the settlement. These attorneys’ phone numbers are listed at page 3 above.

   You should not contact the Court if you have questions about the settlement or this Notice.




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